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Exhibit B - Personal Injury Plaintiffs Joining Complaint on May 13, 2011

Last, First State Redacted SSN |GCCF No.

1|Cato, Cedric Louisiana  |xxx-xx-9738

2|Foret, Joseph Louisiana 1018766
3}Fullwood, Clarence |Louisiana 3202672
4|Walsh, Mark Louisiana 3154240
5|Benoit, Corrie Louisiana 34593882
6|Vejerano, Edgar Texas 3256159
7|Vejerano, Renee Texas 3256490
8|Lengua, Christian {Louisiana 3218704

